
80 So. 3d 412 (2012)
Lemuel O. MAY, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D11-5633.
District Court of Appeal of Florida, First District.
February 14, 2012.
Lemuel O. May, pro se, Petitioner.
Pamela Jo Bondi, Attorney General, Tallahassee, for Respondent.
PER CURIAM.
The petition is granted and Lemuel O. May is hereby afforded belated appeal of judgment and sentence issued by the Circuit Court for Escambia County in case number 2009-CF-004919-A. Upon issuance of mandate in this cause, a copy of this opinion will be provided to the clerk of the circuit court who shall treat it as a notice of appeal. See Fla. R.App. P. 9.141(c)(6)(D). The lower tribunal is directed to appoint counsel for appellant in the direct appeal if he qualifies for such an appointment.
LEWIS, ROBERTS, and RAY, JJ., concur.
